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                United States Court of Appeals for the Sixth Circuit
                              Comes now Col. David J. Wright, Appellant
                              Pro Se in Civil Actions 23-5795 and 23-6108

                                                                                             April 16, 2025

Kelly L. Stevens​
Clerk of Court (Pro Se Intake)​
                                                     RECEIVED
                                                          04/16/2025
540 Potter Stewart U.S. Courthouse​
100 East Fifth Street​                         KELLY L. STEPHENS, Clerk
Cincinnati, Ohio 45202

Re: Pro Se Filing – Notice of Judicial Suppression and Adverse Action​
Appellant, Col. David J. Wright v. Honorable Order of Kentucky Colonels, Inc.

Please accept for filing the enclosed Notice of Judicial Suppression and Adverse Action Affecting
Record Integrity, submitted by Appellant David J. Wright, appearing pro se and in forma pauperis
pursuant to 28 U.S.C. § 1654, which guarantees the right of individuals to represent themselves in all
federal courts.

This filing is submitted via the Court’s designated Pro Se Email Filing System, in accordance with the
Sixth Circuit’s published procedures for Pro-Se IFP litigants.

I respectfully request that this filing be docketed immediately in accordance with 28 U.S.C. § 953 and
Federal Rule of Civil Procedure 79(a), which require the Clerk of Court to enter all properly submitted
papers into the official record without delay. Additionally, 28 U.S.C. § 452 mandates that all court
personnel perform their duties impartially and administer justice fairly, which includes ensuring that
filings are processed in a timely and unbiased manner.

This ‘Notice’ concerns post-judgment actions taken by the District Court that have suppressed
adjudicative facts, obstructed due process, concealed exculpatory evidence, entrenched fraud upon the
court, and affected the completeness and fairness of the appellate record. As such, it is material to this
Court’s review and must be docketed as part of the official proceedings.

Please feel free to contact me via email at david.wright@globcal.net or by telephone/text at (859)
379-8277 should any clarification or action be required to facilitate docketing.

Thank you for your professional attention to this submission.

Respectfully submitted,

Col. David J. Wright​
Pro Se Appellant

Enclosure: Notice of Judicial Suppression and Adverse Action
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               UNITED STATES COURT OF APPEALS
                           FOR THE SIXTH CIRCUIT​

                                CASE NOS. 23-5795 and 23-6108


                 HONORABLE ORDER OF KENTUCKY COLONELS, INC.
                                                Appellee
                                                    v.
                    COL. DAVID J. WRIGHT, A KENTUCKY COLONEL​
                      Individually and on behalf of similarly titled individuals,
                                                Appellant

                                                — and —

        KENTUCKY COLONELS INTERNATIONAL; GLOBCAL INTERNATIONAL; ​
               ECOLOGY CROSSROADS COOPERATIVE FOUNDATION, INC.
                                         Defendants in Default




NOTICE OF JUDICIAL SUPPRESSION AND ADVERSE ACTION

                      Affecting Record Integrity and Appellate Review




INTRODUCTION

Appellant David J. Wright, appearing pro se in forma pauperis, respectfully submits this Notice of

Judicial Suppression and Adverse Action to formally alert this Honorable Court that the present

appeal is no longer confined to questions of judicial bias or procedural error. It now implicates

institutional suppression of the record, overt disregard of controlling law, and coordinated concealment
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of trademark fraud. On April 15, 2025, the United States District Court for the Western District of

Kentucky issued two rulings—[DE 182] and [DE 183]—that suppressed adjudicative facts, ignored a

mandatory statutory disqualification process, and denied fraud-based and constitutional motions without

factual or legal evaluation. These acts, taken collectively, reflect not merely judicial bias but a

self-protective effort by the Court to shield its own missteps and those of a party now demonstrably

shown to have engaged in falsification, perjury, and systemic misrepresentation. This appeal now stands

as a challenge to a closed forum, where it is now clear that the Appellant was afforded no possibility of

equity or fair process in law since the case began in February 2020.


This Notice is submitted pursuant to Fed. R. App. P. 10(e) (to preserve the completeness and accuracy

of the record) and in support of an anticipated Motion for Judicial Notice and Record Expansion, to

be separately filed with this Court.


I. SUMMARY OF SUPPRESSION AND ADVERSE ACTIONS

A. Denial of Recusal – DE 182

On April 15, 2025, the District Court denied Appellant’s Motion for Recusal [DE 170] despite

Appellant’s sworn affidavit filed under 28 U.S.C. § 144, which mandates automatic reassignment

upon a facially sufficient showing of personal bias. Judge Rebecca Grady Jennings, the challenged

judge, improperly ruled on her own disqualification, contrary to both the plain statutory mandate and

Sixth Circuit precedent. See United States v. Sammons, 918 F.2d 592, 599 (6th Cir. 1990). She failed to

substantively address or even reference the documentary evidence and allegations detailed in

Appellant’s accompanying declaration [DE 170-1], which outlined systemic judicial favoritism,

pre-judgment, and institutional collusion.


B. Return of Bond and Denial of Motions – DE 183

That same day, the District Court:
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   ●​ Granted Appellee’s Motion to Return the TRO Bond [DE 177], despite ongoing

       constitutional and fraud-based challenges to the validity of the injunction, as specifically raised

       in Appellant’s timely-filed Amended Objection [DE 181], which also explicitly asserted that the

       bond remained subject to the outcome of this appeal

   ●​ Denied Appellant’s Motion for Judicial Notice [DE 171], and

   ●​ Denied Appellant’s Rule 11 Motion for Sanctions [DE 176], citing lack of jurisdiction and

       characterizing the filings as “frivolous,” despite the motions raising allegations of fraud on the

       court, perjury, and fabrication of trademark history.


The Court declined to acknowledge the timely expiration of the Rule 11(c)(2) safe harbor period and

failed to consider any of the highly factual materials presented. It relied exclusively on procedural

avoidance to dispose of matters that implicate the integrity of the underlying record.


II. LEGAL SIGNIFICANCE AND IMPACT ON THE RECORD

These rulings materially interfere with Appellant’s rights under the Due Process Clause and with this

Court’s ability to conduct meaningful appellate review. Specifically:


   ●​ The recusal ruling violates 28 U.S.C. § 144 and contradicts the Sixth Circuit’s supervisory

       holding in Sammons

   ●​ The denial of judicial notice ignores newly surfaced adjudicative facts that are “capable of

       accurate and ready determination” under Fed. R. Evid. 201(b)

   ●​ The denial of Appellant’s sanctions motion disregards the procedural requirements of Federal

       Rule of Civil Procedure 11 and effectively allows fraud on the court and fraud on the United

       States Patent and Trademark Office (USPTO) to go unaddressed and become institutionally

       entrenched
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   ●​ The return of the TRO bond nullifies a contested security interest while appeal is pending, in

       direct conflict with equitable review principles under Fed. R. Civ. P. 65(c) and Sixth Circuit stay

       jurisprudence (Michigan Coal. of Radioactive Material Users, Inc. v. Griepentrog, 945 F.2d 150

       (6th Cir. 1991))


Together, these actions reflect judicial suppression of the record, protection of fraudulent pleadings,

and institutional alignment with a party alleged to have repeatedly misrepresented the origin, ownership,

and public meaning of the phrase “Kentucky Colonel.”


Furthermore, the factual issues presented below are not speculative or hypothetical; they reflect

established instances of fraud on the court, including:


   ●​ Appellee’s knowing misrepresentation of its organizational origin, coupled with deliberate

       historical revisionism that replaces verifiable fact with manufactured myth

   ●​ False assertions of “incontestability” and “fame” regarding trademark applications that had

       not yet been examined or matured to registration

   ●​ Willful concealment of prior associations with Appellant, including legal contact, formal

       membership and donation records over two decades

   ●​ The knowing omission of adverse precedent—including Building Champions, which

       directly contradicts Appellee’s claims—by its legal counsel, in violation of Rule 3.3(a)(2)

       of the Kentucky Rules of Professional Conduct and analogous Sixth Circuit ethical

       standards


These are not technical defects. They constitute a systematic abuse of legal process intended to

silence Appellant, misappropriate a public title, and mislead the Circuit Court. Appellee’s legal

counsel, as officers of the court, actively participated in advancing these fabrications and

should be held to account for their role in perpetuating judicial error.
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The circumstances described herein fall squarely within the limited but critical body of law

addressing fraud on the court and structural judicial failure. Appellant submits this Notice in

light of the Court’s supervisory role and its recognized authority to intervene where judicial

machinery has been corrupted. See Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S.

238 (1944) (fraud on the court must be addressed even post-judgment); Gonzalez v. Crosby, 545

U.S. 524, 532 (2005) (Rule 60(d)(3) fraud not time-barred); Demjanjuk v. Petrovsky, 10 F.3d

338, 354 (6th Cir. 1993) (fraud on the court justifies equitable relief beyond ordinary appeals);

and Taubman Co. v. Webfeats, 319 F.3d 770, 777 (6th Cir. 2003) (First Amendment bars

trademark enforcement where expressive use is at issue).


III. ANTICIPATED SUPPLEMENTATION: NOTICE OF FORTHCOMING
JUDICIAL NOTICE MOTION AND HISTORICAL DECLARATION

Appellant will shortly submit a formal Motion for Judicial Notice and Motion for Leave to

Supplement the Record, accompanied by a Declaration of Historical Fact containing newly

uncovered public records and archival documents that directly rebut Appellee’s fictitious “1813” origin

narrative and its underlying trademark claims. These filings are not duplicative of prior submissions and

are necessary to prevent this Court from relying on a fabricated factual and legal foundation advanced

by Appellee throughout these proceedings and relied upon below without verification.


Supplementation is warranted pursuant to Federal Rule of Appellate Procedure 10(e), which permits

additions to the record where material has been omitted “by error or accident.” Moreover, as discussed

in Section II above, courts retain inherent equitable authority to consider supplemental filings where

necessary to address fraud on the court, procedural concealment, or factual distortion, particularly

where such distortions impair constitutional rights or the integrity of appellate review.


IV. REQUEST TO THE COURT

Appellant respectfully requests that this Court:
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   1.​ Docket this Notice in Case Nos. 23-5795 / 23-6108 as a formal appellate filing

   2.​ Acknowledge DE 182 and DE 183 as acts of judicial suppression contravening fraud and

       misconduct that impact the record’s integrity

   3.​ Permit supplementation of the appellate record under Fed. R. App. P. 10(e) to include:

           ○​ Appellant’s Notice of Intent to File Rule 11 Motion [DE 169]

           ○​ Appellant’s Motion to Recuse [DE 170]

           ○​ Appellant’s Judicial Notice Motion [DE 171]

           ○​ Appellant’s Rule 11 Sanctions Motion [DE 176]

           ○​ Appellant’s Amended Objection to Return of TRO Bond [DE 181]

           ○​ Appellant’s forthcoming Declaration of Historical Fact and new archival evidence from

               the federal, public, and state historical record

   4.​ Consider whether further review or remand is warranted to investigate suppression, fraud, or

       judicial misconduct

   5.​ That this Court take under advisement whether a referral to the appropriate disciplinary

       authority or bar oversight body is warranted, pursuant to its supervisory powers over

       proceedings tainted by intentional deception and litigation misconduct by counsel.


Respectfully submitted in good faith and in the interest of justice,​


Col. David J. Wright​
302 General Smith Drive​
Richmond, Kentucky 40475​
​
david.wright@globcal.net​
Tel: (859) 379-8277​ ​    ​            ​      ​        Dated: April 16, 2025​
​       ​      ​      ​   ​            ​      ​        Puerto Carreño, Colombia
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                                        Certificate of Service

I hereby certify that on April 16, 2025, I emailed for filing the foregoing Notice of Judicial
Suppression and Adverse Action to the Clerk of the Court for the United States Sixth Circuit Court of
Appeals via the intake email address CA06_Pro_Se_Efiling@ca6.uscourts.gov for entry into the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that service
will be accomplished by the CM/ECF system once the Circuit Court Clerk files the document(s) without
any prejudice to the Appellee.

Kelly L. Stephens, Clerk
Sixth Circuit Court of Appeals
501 Potter Stewart U.S. Courthouse
100 East Fifth Street
Cincinnati, Ohio 45202-3988
